      Case 3:99-cr-00010 Document 692 Filed on 06/15/05 in TXSD Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE SOUTHERN DISTRICT OF TEXAS

                                    GALVESTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
VS.                                              §   CRIMINAL NO. G-99-10 (09)
                                                 §   CIVIL ACTION NO. G-05-321
JAMES HENDERSON, JR.                             §

                                    OPINION AND ORDER

        On June 3, 2005, James Henderson, Jr. , a named Defendant in the above-styled and

numbered cause, filed a “ Motion Under 28 U. S.C. § 2255 to Vacate, Set Aside, or Correct

Sentence by a Person in Federal Custody.” Without reciting the lengthy history of this case, the

Court notes that Henderson has previously filed a § 2255 Motion which was dismissed as time-

barred on April 17, 2003; Henderson’ s subsequent motion for relief from that Judgment was

denied on May 5, 2004.

        In the instant Motion, Henderson seeks relief from a two-level increase in his base offense

level imposed by the District Court after finding the “ additional fact” that Henderson possessed

a firearm during the commission of his drug trafficking offenses. In reliance on the recent

Supreme Court decision in United States v. Booker,          U. S.     , 160 L.Ed. 2d 621 (2005),

Henderson argues that the increase required a supportive jury finding without which it must be

vacated. In the opinion of this Court, Henderson’ s Motion must be dismissed for want of

jurisdiction.

        Obviously, Henderson’ s Motion is both successive and time-barred unless Booker applies

retroactively to cases on collateral review. Unfortunately, for Henderson, in the opinion of this

Court Booker does not so apply. The Supreme Court seems to have limited Booker’ s application
     Case 3:99-cr-00010 Document 692 Filed on 06/15/05 in TXSD Page 2 of 2




only “ to all cases on direct review. ” 160 L.Ed. 2d at 665 Moreover, all federal Circuits which

have addressed the issue have concluded that Booker does not apply retroactively to cases that

became final before its release on January 12, 2005. See Cirilo-Munoz v. United States,          F. 3d

   , 2005 WL 858324* 5-6 (1st Cir. , April 15, 2005); Guzman v. United States,           F. 3d       ,

2005 WL 803214*2-4 (2nd Cir., April 8, 2005); Humphress v. United States, 398 F. 3d 855, 860-

63 (6th Cir. 2005); McReynolds v. United States, 397 F.3d 479, 481, (7th Cir. 2005); Varela v.

United States, 400 F. 3d 864, 866-868 (11th Cir. 2005); See also United States v. Brown, 305 F. 3d

304, 309 (5th Cir. 2002) (Apprendi not retroactively applicable to 2255 motions), cert. denied, 538

U. S. 1007 (2003)    In the opinion of this Court, relief under Booker is simply not available to

Henderson. Consequently, there is no legal justification to disregard the statutory prohibitions set

forth in 28 U.S.C. § 2244(b)(2)(A) and (d)(1)(A) as incorporated by 28 U. S.C. § 2255.

       Accordingly, under 28 U.S.C. § 2244(b)(3), Henderson must file a motion seeking the

permission of a three-judge panel of the United States Court of Appeals for the Fifth Circuit to

file a successive petition, which must be granted or denied within 30 days under § 2244(b)(3)(B).

Unless or until the Court of Appeals authorizes the filing of Henderson’ s new § 2255 Motion,

this Court has no jurisdiction to consider same. See Hooker v. Sivley, 187 F.3d 680, 681-82 (5th

Cir. 1999)

       It is, therefore, ORDERED that the “ Motion Under 28 U. S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody” (Instrument no. 691) of James

Henderson, Jr. , is DISMISSED for lack of jurisdiction.

       DONE at Galveston, Texas, this 15th day of June, 2005.




                                                 2
